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                             IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION

 UNITED STATES OF AMERICA                                                                PLAINTIFF

 v.                                   No. 5:13-CR-50004-004

 DAVID FISHER                                                                         DEFENDANT

                                               ORDER

        Currently before the Court are Defendant David Fisher’s motion (Doc. 93) to sever

 defendant, or in the alternative, sever Counts 1 from Counts 2 and 3, and brief in support (Doc. 94).

 Also before the Court are the Government’s response (Doc. 96) and brief in support (Doc. 97).

 Having reviewed the motion and related filings, the Court finds that both motions to sever should

 be DENIED.

        The superseding indictment (“the indictment”) (Doc. 60) in this case charges Fisher and his

 co-defendants with conspiracy to commit bank fraud (Count 1) and charges two of Fisher’s co-

 defendants with money laundering (Counts 2 and 3). One co-defendant has pleaded guilty to Count

 1 of the indictment, and another co-defendant has pleaded guilty to Counts 1 and 2. Fisher filed the

 instant motion before the two co-defendants entered their pleas of guilty. Brandon Rains, the only

 remaining co-defendant, is charged in Counts 1 and 3. Some of Fisher’s arguments for severance

 no longer apply.

       Fisher’s primary argument for severance is that his actions, as alleged in the indictment, are

 not part of the same act or transaction charged in the conspiracy to commit bank fraud. Count 1 of

 the indictment alleges that Fisher and his co-defendants conspired to defraud First Federal Bank by

 making materially false representations. The indictment alleges that Fisher, on behalf of his client


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 who was an unindicted co-conspirator, falsely represented to First Federal Bank the purchase price

 of property to induce First Federal to approve a higher loan amount than the bank would have made

 had they known the true purchase price of the property. The indictment alleges that Fisher prepared

 a side agreement for the co-conspirators to distribute excess cash generated from loan proceeds

 fraudulently obtained from First Federal Bank.

        Rule 8(b) of the Federal Rules of Criminal Procedure provides that “[t]he indictment or

 information may charge 2 or more defendants if they are alleged to have participated in the same act

 or transaction, or in the same series of acts or transactions, constituting an offense or offenses.”

 Fisher is charged with committing several overt acts in the conspiracy to commit bank fraud. It does

 not matter that Fisher did not own the property in question, or receive any of the proceeds from the

 alleged fraudulent scheme. The indictment sufficiently alleges actions by Fisher that were part of

 the conspiracy to commit bank fraud. “Persons charged in a conspiracy or jointly indicted on similar

 evidence from the same or related events should be tried together, even if each defendant did not

 participate in or was not charged with each offense.” United States v. Gravatt, 280 F.3d 1189, 1191

 (8th Cir. 2002). It is clear to the Court that joinder in this case was proper as the defendants are

 “alleged to have participated in the same act or transaction or in the same series of acts or

 transactions constituting an offense or offenses,” Fed. R. Crim. P. 8(b); see also Gravatt, 280 F.3d

 at 1191 (“Rule 8(b) is construed liberally.”). The fact that Fisher did not receive any proceeds from

 the fraud scheme, or that he was merely representing a co-conspirator who received the fraudulent

 loan proceeds, does not entitle him to a severance. “Disparity in the weight of the evidence as

 between the [] parties does not entitle one to severance[,] and [n]either does limited involvement in

 a conspiracy.” United States v. Pecina, 956 F.2d 186, 188 (8th Cir. 1992).


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        Fisher argues in the alternative that the court should sever Count 1 from Counts 2 and 3

 because he is not charged in Counts 2 and 3. Count 2 charged co-defendant Jeff Whorton with a

 money laundering offense, and Count 3 charges Brandon Rains with a separate money laundering

 offense. Fisher and co-defendant Brandon Barber were not charged in either of these offenses.

 Fisher argues that he would be prejudiced by association of the money laundering transactions in a

 trial on the charge of conspiracy to commit bank fraud. The indictment alleges that the money

 laundering transactions charged in Counts 2 and 3 arise out of the real estate transaction that is

 charged in Count 1. It is alleged that the proceeds of the scheme to defraud the bank were used in

 financial transactions which form the basis for the money laundering counts. The time frame of the

 money laundering transactions is the same as the conspiracy alleged in the indictment. That Fisher

 had no involvement in the money laundering transactions is not sufficient grounds to sever Count

 1 from Counts 2 and 3. “Severance is not required merely because evidence that is admissible only

 against some defendants may be damaging to others.” United States v. Mickelson, 378 F.3d 810, 818

 (8th Cir. 2004).

         In ruling on a motion for severance, the Court “weighs the inconvenience and expense of

 separate trials against the prejudice resulting from a joint trial of codefendants.” United States v.

 Brown, 331 F.3d 591, 595 (8th Cir. 2003) (quotation omitted). “[W]hen defendants have been

 properly joined under Rule 8(b), a district court should grant a severance only if there is a serious

 risk that a joint trial would compromise a specific trial right of one of the defendants, or prevent the

 jury from making a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S.

 534, 539 (1993). In this case, a separate trial as to Fisher would require the Government to duplicate

 its efforts in trying the conspiracy count against Brandon Rains. Separate trials would also require


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 duplication of the Court’s time and resources in holding two separate trials in which largely the same

 evidence and testimony (duplicating witnesses’ time expended) is presented on one count. Another

 jury would have to be called. Such a duplication of efforts is unnecessary when weighed against the

 risk of prejudice asserted by Fisher, especially since two co-defendants have pleaded guilty and will

 not stand trial with Fisher.

        For all the reasons set forth above, the Court finds that Fisher’s motion for severance must

 be denied.

        IT IS THEREFORE ORDERED that Fisher’s motion to sever (Doc. 93) is DENIED.

        IT IS SO ORDERED this 16th day of September, 2013.


                                                                /s/P. K. Holmes, III
                                                                P.K. HOLMES, III
                                                                CHIEF U.S. DISTRICT JUDGE




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